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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                          CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/




        GOVERNMENT’S OPPOSITION TO DEFENDANT DONALD J. TRUMP’S
              MOTION TO DISMISS THE INDICTMENT BASED ON
                SELECTIVE AND VINDICTIVE PROSECUTION
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                                          INTRODUCTION

          When Donald J. Trump left the White House in January 2021, he arranged for scores of

   boxes holding hundreds of highly classified documents to be sent to the Mar-a-Lago Club, where

   he had a personal residence. These documents had been generated by members of the intelligence

   community and provided to Trump during his term in office, to facilitate the execution of his duties

   as President of the United States. When those duties ended, so too did Trump’s authorization to

   possess the documents. They were not keepsakes, memorabilia, or trophies for him to keep and

   use as he pleased after his return to life as a private citizen. They contained sensitive, highly

   classified information related to the national defense, and as such, the Espionage Act proscribed

   their retention in an unsecure location by a private citizen who lacked authorization to possess

   them. And because they were presidential records, they belonged to the American people, and

   were to be preserved, retained, and safeguarded by the National Archives and Records

   Administration (“NARA”), as required by the Presidential Records Act.

           Trump nevertheless knowingly possessed and willfully retained the classified documents.

   That alone distinguishes his conduct from a litany of former government officials who have

   retained classified documents beyond their terms in office through inadvertence or carelessness,

   but then returned them upon their discovery. But Trump’s conduct went much further. First, he

   used delay and obfuscation to stymie NARA’s efforts to gain custody of the presidential records in

   his possession. See ECF No. 85 ¶ 38. Then, when pressed by the threat of referral to Congress

   and the Department of Justice, he ostensibly agreed to comply with NARA’s requests but in fact

   engaged in deception, returning only a fraction of the documents in his possession while claiming

   that his production was complete. Id. ¶¶ 38-48. When NARA discovered that his production

   contained more than 100 documents with classification markings, it prudently alerted the



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   appropriate government authorities. Id. ¶¶ 49-50. The government then opened a criminal

   investigation, and a grand jury issued a subpoena to Trump for any remaining documents with

   classification markings.    Id. ¶¶ 51-53.   Rather than simply comply with the subpoena, he

   orchestrated a scheme to obstruct the criminal investigation and the continuing effort to recover

   the documents. Among other things, the scheme included an effort to enlist his own attorney in

   the corrupt endeavor, suggesting that the attorney falsely tell the FBI and grand jury that Trump

   did not have any documents, and suggesting that his attorney hide or destroy documents rather

   than produce them to the government. Id. ¶¶ 55-57, 66-67. Separately, Trump enlisted his trusted

   body man, codefendant Waltine Nauta, in a scheme to deceive the attorney by moving boxes to

   conceal his continued possession of classified documents. Id. ¶¶ 58-63. As a result, Trump,

   through his attorney, again returned only a portion of the classified documents in his possession

   while falsely claiming that his production was complete. Id. ¶¶ 64-73. In June 2022, knowing that

   he had arranged for Nauta to move boxes to conceal them from Trump’s attorney, and knowing

   that the government had subpoenaed the security video footage that would reveal that surreptitious

   box movement, Trump, now joined by Nauta and codefendant Carlos De Oliveira, attempted to

   have the IT manager at Mar-a-Lago delete the video footage. Id. ¶¶ 74-87.

          Trump contends (Mot. to Dismiss based on Selective and Vindictive Pros. (“Mot.”))1 that

   he has been subject to selective and vindictive prosecution. But he has not identified anyone who

   has engaged in a remotely similar battery of criminal conduct and not been prosecuted as a result.

   He has likewise failed to provide any evidence that his indictment was brought solely to retaliate

   against him for exercising his legal rights, rather than because he flagrantly and repeatedly broke

   the law. The Attorney General appointed the Special Counsel to “underscore[] the Department’s



          1
              Trump’s motion has not yet been docketed publicly or received an ECF number.
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   commitment to both independence and accountability in particularly sensitive matters” and to

   allow prosecutors “to make decisions indisputably guided only by the facts and the law.” Att’y

   Gen. Merrick B. Garland, Remarks on the Appointment of a Special Counsel (Nov. 18, 2022).2

   The Special Counsel has followed the facts and the law, while adhering to all Department

   regulations, including the prohibition on making a prosecutorial decision based on a defendant’s

   “political association, activities, or beliefs,” or “for the purpose of giving an advantage or

   disadvantage to any candidate or political party.” Justice Manual (“JM”) § 9-27.260. Trump fails

   to show otherwise, and his requests for dismissal or discovery based on selective and vindictive

   prosecution should be denied.

                                              ARGUMENT

   I.     Applicable Law3

          The decision to bring charges in a case is subject to a “presumption of regularity,” and,

   with rare exceptions, defendants and courts are precluded from “[e]xamining the basis of a

   prosecution” or “subjecting the prosecutor’s motives and decisionmaking to outside inquiry.”

   United States v. Armstrong, 517 U.S. 456, 464-65 (1996); see Wayte v. United States, 470 U.S.

   598, 607 (1985). Those rare exceptions include cases violating the constitutional prohibitions on

   selective and vindictive prosecution. Selective prosecution occurs when the decision to prosecute

   is “based on an unjustifiable standard such as race, religion, or other arbitrary classification.”

   Armstrong, 517 U.S. at 464 (quotation marks omitted). And vindictive prosecution occurs when a

   “charging decision” or other prosecutorial action is “motivated by a desire to punish [the




          2
           https://www.justice.gov/opa/speech/attorney-general-merrick-b-garland-delivers-
   remarks-appointment-special-counsel.
          3
              The applicable law has been set forth at greater length at ECF No. 337 at 3-6.
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   defendant] for doing something that the law plainly allowed him to do.” United States v. Goodwin,

   457 U.S. 368, 384 (1982).

          To prove a claim of selective or vindictive prosecution, a defendant must establish each of

   the constituent elements (discussed below) by “clear and convincing evidence.” United States v.

   Smith, 231 F.3d 800, 808 (11th Cir. 2000) (selective prosecution); see United States v. Simbaqueba

   Bonilla, No. 07-cr-20897, 2010 WL 11627259, at *4-5 (S.D. Fla. May 20, 2010) (vindictive

   prosecution). To obtain discovery on such a claim, a defendant must meet a “correspondingly

   rigorous standard,” Armstrong, 517 U.S. at 468, that is “only slightly lower than for proving the

   claim itself,” United States v. Hare, 820 F.3d 93, 99 (4th Cir. 2016) (quotation marks omitted); see

   United States v. Bass, 536 U.S. 862 (2002) (per curiam). That standard requires the defendant to

   make “a credible showing” to support his claim, by providing “some evidence tending to show the

   existence of the essential elements of the defense.” Armstrong, 517 U.S. at 468, 470 (quotation

   marks omitted); see United States v. Cannon, 987 F.3d 924, 937 (11th Cir. 2021).

          A.      Requirements of a Selective Prosecution Claim

          A selective prosecution claim has two prongs, requiring a defendant to “demonstrate [1]

   that the federal prosecutorial policy had a discriminatory effect and [2] that it was motivated by a

   discriminatory purpose.” Smith, 231 F.3d at 808 (quotation marks omitted). The first prong

   requires a showing that “similarly situated individuals were not prosecuted,” which means the

   defendant must identify a “comparator [who] committed the same basic crime in substantially the

   same manner as the defendant—so that any prosecution of that individual would have the same

   deterrence value and would be related in the same way to the Government’s enforcement priorities

   and enforcement plan—and against whom the evidence was as strong or stronger than that against

   the defendant.” Id. at 809-10. The second prong requires a showing that the prosecutorial decision



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   was in fact “motivated by a discriminatory purpose” on behalf of “the decisionmaker,” United

   States v. Jordan, 635 F.3d 1181, 1188 (11th Cir. 2011) (quotation marks omitted).

          B.      Requirements of a Vindictive Prosecution Claim

          A vindictive prosecution claim based (as here) on a theory of actual vindictiveness requires

   the defendant to demonstrate “that (1) the prosecutor acted with genuine animus toward the

   defendant and (2) the defendant would not have been prosecuted but for that animus.” United

   States v. Wilson, 262 F.3d 305, 314 (4th Cir. 2001); see United States v. Barner, 441 F.3d 1310,

   1322 (11th Cir. 2006) (citing Wilson and stating that the “elements of prosecutorial vindictiveness

   are animus plus causation”).

   II.    Trump Fails to Satisfy the First Prong of a Selective Prosecution Claim Because He
          Cannot Identify a Similarly Situated Comparator

          To satisfy the first prong of his selective prosecution claim, Trump offers (Mot. at 2-13)

   nine individuals who he contends are similarly situated. But while each of them, to varying

   degrees, bears a slight resemblance to this case, insofar as they involved the mishandling of

   classified documents, none is alleged to have willfully retained a vast trove of highly sensitive,

   confidential materials and repeatedly sought to thwart their lawful return and engaged in a multi-

   faceted scheme of deception and obstruction—a scheme that included not only Trump’s own

   repeated efforts to stymie the investigation, but his recruitment and direction of his subordinates

   to join in the conspiracy. See Smith, 231 F.3d at 811. There is no one who is similarly situated.

          A.      Joseph R. Biden

          Trump first contends (Mot. at 2-5, 21) that his conduct, as alleged in the Superseding

   Indictment, is not meaningfully distinguishable from the conduct of Joseph R. Biden, as described

   in the Report on the Investigation Into Unauthorized Removal, Retention, and Disclosure of

   Classified Documents Discovered at Locations Including the Penn Biden Center and the Delaware

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   Private Residence of President Joseph R. Biden, Jr., by Special Counsel Robert K. Hur (“Hur

   Report”), such that he and Biden should be viewed as similarly situated comparators. That claim

   fails. To be sure, there are superficial similarities between the two cases: both, for example,

   involve classified materials received by a Vice President or President during his term of office and

   then stored in cardboard boxes in an unsecured location thereafter, which “poses serious risks to

   national security.” Hur Report at 255; see id. at 180 (noting that, absent “a written waiver of the

   need-to-know requirement” or other “findings required by [Executive Order 13526],” the

   “possession of [classified] materials in unsecured spaces” is “unauthorized within the meaning of

   the Espionage Act”).     Both also involve a recording capturing the discussion of classified

   information with a ghostwriter. Compare ECF No. 85 ¶¶ 34-35 with Hur Report at 9-10.

          But as the Hur Report recognizes, “several material distinctions between Mr. Trump’s case

   and Mr. Biden’s are clear.” Hur Report at 11; id. at 250. Two are particularly salient. First, Trump,

   unlike Biden, is alleged to have engaged in extensive and repeated efforts to obstruct justice and

   thwart the return of documents bearing classification markings, which provides particularly strong

   evidence of willfulness and is a paradigmatic aggravating factor that prosecutors routinely rely on

   when making charging decisions. This distinction precludes Trump from showing that the two

   men “committed the same basic crime in substantially the same manner.” Smith, 231 F.3d at 810.

   Second, the evidence concerning the two men’s intent—whether they knowingly possessed and

   willfully retained such documents—is starkly different, as reflected in the Hur Report’s conclusion

   that “the evidence falls short of establishing Mr. Biden’s willful retention of the classified

   Afghanistan documents beyond a reasonable doubt,” Hur Report at 204 (capitalization altered),

   which precludes Trump from showing that the evidence against Biden is “as strong or stronger

   than that against” Trump, Smith, 231 F.3d at 810. Additional distinctions—relating to the volume,



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   sensitivity, and storage of the classified documents—further confirm that the two cases are not

   “nearly identical” and that there are “legitimate reasons for viewing them differently.” United

   States v. Brantley, 803 F.3d 1265, 1272 (11th Cir. 2015).

          Obstructive conduct. The investigation into Trump’s retention of classified documents

   began in February 2022, following a protracted period in which he repeatedly resisted NARA’s

   efforts to gain custody over presidential records in his possession, and then returned only a subset

   of those records—a subset that contained 197 documents bearing classification markings. ECF

   No. 85 ¶¶ 7-8. A federal grand jury issued a subpoena requiring Trump to turn over all documents

   in his custody or control with classification markings. Id. ¶¶ 7, 53.         In response, Trump

   “endeavored to obstruct the FBI and grand jury investigations and conceal his continued retention

   of classified documents” in numerous ways. Id. ¶ 7. First, Trump “suggest[ed] that his attorney

   falsely represent to the FBI and grand jury that Trump did not have documents called for by the

   grand jury subpoena.” Id. Second, Trump “direct[ed] defendant Waltine Nauta to move boxes of

   documents to conceal them from Trump’s attorney, the FBI, and the grand jury.” Id. Third, Trump

   “suggest[ed] that his attorney hide or destroy documents called for by the grand jury subpoena.”

   Id. Fourth, Trump “provid[ed] to the FBI and grand jury just some of the documents called for by

   the grand jury subpoena, while claiming that he was cooperating fully.” Id. Fifth, Trump “caus[ed]

   a certification to be submitted to the FBI and grand jury falsely representing that all documents

   called for by the grand jury subpoena had been produced—while knowing that, in fact, not all such

   documents had been produced.” Id. And sixth, Trump “attempt[ed] to delete security footage at

   The Mar-a-Lago Club to conceal information from the FBI and grand jury.” Id.

          These repeated and flagrant obstructive efforts find no analogue in the facts detailed in the

   Hur Report. To the contrary, the Hur Report found that “Biden alerted authorities, turned in



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   classified documents to the National Archives and the Department of Justice in 2022 and 2023,

   consented to the search of multiple locations including in his homes, permitted the seizure and

   review of handwritten notebooks he believed to be his personal property, and in numerous other

   ways cooperated with the investigation.” Hur Report at 250.

          This key factual distinction—between defiance, deception, and obstruction, on the one

   hand, and cooperation, on the other—precludes Trump from showing that he and Biden

   “committed the same basic crime in substantially the same manner.” Smith, 231 F.3d at 810; see

   United States v. Sun Myung Moon, 718 F.2d 1210, 1230 (2d Cir. 1983) (rejecting selective

   prosecution claim where, unlike the purported comparators, “this case also involved charges of

   perjury and obstruction of justice”). Indeed, by retaining a large quantity of highly sensitive

   materials and refusing to return them and taking affirmative steps to obstruct the investigation,

   Trump “in effect selected [himself] for prosecution.” Wayte, 470 U.S. at 610 (“[T]hose prosecuted

   in effect selected themselves for prosecution by refusing to register [for the Selective Service] after

   being reported and warned by the Government.”); see also United States v. Heilman, 614 F.2d

   1133, 1138 (7th Cir. 1980) (“‘Aggressively displaying one’s antipathy to the . . . system or daring

   the government to enforce it does not create immunity from, or a defense to, prosecution.’”

   (quoting United States v. Stout, 601 F.2d 325, 328 (7th Cir. 1979) (ellipsis in Heilman)).

          Evidence of intent. In cases involving the unauthorized possession of documents and other

   material “relating to the national defense,” the key investigative question is often whether the

   person “willfully retain[ed]” those sensitive materials. 18 U.S.C. § 793(e). That crucial question

   of intent is typically what “‘separate[s] wrongful from innocent acts.’” Ruan v. United States, 597

   U.S. 450, 458 (2022) (quoting Rehaif v. United States, 139 S. Ct. 2191, 2197 (2019)).




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          The investigation into Trump’s conduct uncovered powerful evidence that he willfully

   retained the documents charged in the indictment. Although much of that evidence must await

   trial, the Superseding Indictment alleges that Trump knew the contents of his boxes, having

   personally collected the materials in them during his Presidency and been “personally involved”

   in the process of packing them up at the end of his term in office and causing them to be transported

   to Mar-a-Lago.4 ECF No. 85 ¶¶ 25-27, 29, 31. It further alleges that Trump, on two occasions

   after his Presidency, showed classified documents to individuals lacking security clearances while

   commenting on the classified status of the items. Id. ¶¶ 35-36. Moreover, Trump had reviewed

   the contents of the 15 boxes containing classified documents that he returned to NARA and knew

   that he was returning only a small portion of the documents in his possession. Id. ¶¶ 38-49. The

   evidence of obstruction, described above, also provides powerful evidence of willful retention,

   given that Trump engaged in deceptive and obstructive conduct precisely so that he could retain

   the classified documents that the grand jury had demanded. After considering this evidence,

   consistent with the Principles of Federal Prosecution, the Government concluded it could prove

   Trump’s criminal intent beyond a reasonable doubt at trial. See JM § 9-27.220.

          The Hur Report found the opposite as to Biden. After an “extensive investigation”

   involving “173 interviews of 147 witness, including Mr. Biden himself,” plus the collection of



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              Trump has since provided additional evidence of his knowing possession and willful
   retention, publicly claiming that he took the documents with him “openly and transparently,”
   https://truthsocial.com/@realDonaldTrump/posts/109423467465734907, and that he was
   “RIGHT” to do so, because he made sure to keep “[s]ecured documents in a secured place,”
   https://truthsocial.com/@realDonaldTrump/posts/109686940059084385, thereby confirming that
   he knew that he had these documents and made the considered decision to retain them. He has
   separately made the unsupported claim that, before leaving office, he decided to declassify the
   documents “by thinking about [them].” https://www.foxnews.com/transcript/hannity-donald-
   trump-ny-ag-lawsuit-mar-lago-raid; see also https://truthsocial.com/@realDonaldTrump/posts/
   108917523934541907 (“Lucky I Declassified!”). If he persists in these declassification claims,
   that, too, would provide additional evidence that he knowingly possessed the documents.
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   “over seven million documents,” Hur Report at 28-29, it concluded that “the evidence does not

   establish Mr. Biden’s guilt beyond a reasonable doubt,” id. at 1. Trump mischaracterizes its

   findings by claiming that “Mr. Hur found that President Biden acted ‘willfully.’” Mot. at 21. In

   fact, the Hur Report found that, while “[t]here is evidence that Mr. Biden willfully retained the

   classified Afghanistan documents,” Hur Report at 201 (capitalization omitted), “[t]he evidence

   falls short of establishing Mr. Biden’s willful retention of the classified Afghanistan documents

   beyond a reasonable doubt,” id. at 204 (capitalization omitted), given the existence of “at least

   three defenses likely to create reasonable doubt as to such charges,” id. at 204, which are each

   discussed at length, id. at 204-222. See also id. at 250 (“Unlike the evidence involving Mr. Biden,

   the allegations set forth in the indictment of Mr. Trump, if proven, would clearly establish not only

   Mr. Trump’s willfulness but also serious aggravating facts.”). Trump may dispute the Hur Report’s

   conclusions, but he should not be allowed to misrepresent them. The clear differential in the

   strength of the evidence on the crucial element of intent precludes Trump from showing that the

   two men are similarly situated. Smith, 231 F.3d at 811.

          Other relevant distinctions. Other distinctions—relating to the volume, sensitivity, and

   storage of the classified documents—confirm that conclusion. “‘[I]n determining whether persons

   are similarly situated for equal protection purposes, a court must examine all relevant factors.’”

   United States v. Venable, 666 F.3d 893, 901 (4th Cir. 2012) (quoting United States v. Olvis, 97 F.3d

   739, 744 (4th Cir. 1996)); see United States v. Lewis, 517 F.3d 20, 27 (1st Cir. 2008). That

   examination “is not to be conducted in a mechanistic fashion,” since “‘[m]aking decisions based

   on the myriad of potentially relevant factors and their permutations require[s] the very professional

   judgment that is conferred upon and expected from prosecutors in discharging their

   responsibilities.’” Venable, 666 F.3d at 901 (quoting Olvis, 97 F.3d at 744).



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          With regard to volume, for example, the Hur Report found that Biden possessed 88

   documents bearing classification markings, including 18 marked Top Secret. See Hur Report at

   Appendix A. By contrast, Trump possessed 337 documents bearing classification markings,

   including 64 marked Top Secret. See ECF No. 85 ¶¶ 49, 65, 90.

          The Hur Report also noted that the documents for which charges were most plausible were

   all “now almost fifteen years old” and involved a single, completed conflict. Hur Report at 219;

   see id. at 253. By contrast, Trump possessed an array of sensitive documents that were presented

   to him during his term as President between 2017 and 2021, and they “included information

   regarding defense and weapons capabilities of both the United States and foreign countries; United

   States nuclear programs; potential vulnerabilities of the United States and its allies to military

   attack; and plans for possible retaliation in response to a foreign attack.” ECF No. 85 ¶ 3.

          Finally, the Hur Report notes that the documents for which charges were most plausible

   “were found in a box in Mr. Biden’s Delaware garage.” Hur Report at 3. That was plainly an

   unsecured location, see id. at 180, and the storage of classified documents there “risked serious

   damage to America’s national security,” id. at 200. Whatever risks are posed by storing documents

   in a private garage, however, are dwarfed by the risks of storing documents at “an active social

   club” with “hundreds of members” and “more than 150 full-time, part-time, and temporary

   employees,” which, between January 2021 and August 2022, “hosted more than 150 social events,

   including weddings, movie premieres, and fundraisers that together drew tens of thousands of

   guests.” ECF No. 85 ¶¶ 5, 11-12. Those risks are not mitigated by the presence of Secret Service

   agents, who were “not responsible for the protection of Trump’s boxes or their contents,” and did

   not even know that Trump “was storing boxes containing classified documents” there. Id. ¶ 13;

   accord Hur Report at 241 n.930 (“It is not clear that the presence of Secret Service agents



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   materially enhances the level of protection afforded to classified materials. Agents we interviewed

   said they focus on the protection of persons, not documents, and they do not monitor the movement

   of or access to documents.”).

          Particularly when considered in the aggregate, the volume, sensitivity, and storage of the

   documents all point in the same direction—that Trump’s conduct was more serious—thus

   confirming that the two cases are not “nearly identical” and that there are “legitimate reasons for

   viewing them differently.” Brantley, 803 F.3d at 1272; see Smith, 231 F.3d at 812 (“The

   government can legitimately place a higher priority on prosecuting someone who commits an

   offense three, six or seven times, than someone who commits an offense once or twice . . . .”).

          In sum, Trump has not shown that Biden’s conduct, as described in the Hur Report, makes

   him a similarly situated comparator for purposes of his selective prosecution claim. His request

   for dismissal or discovery on these grounds therefore fails at step one.5

          B.      Mike Pence

          Trump next suggests (Mot. at 5-6, 22) that former Vice President Mike Pence engaged in

   conduct that was materially indistinguishable from that alleged in this case. According to publicly

   available information about Pence, the relevant facts do not remotely resemble the allegations

   against Trump. On January 16, 2023, and in the wake of press reports that classified documents

   had been found in President Biden’s personal residence, Pence, acting “out of an abundance of

   caution,” hired attorneys “with experience in handling classified documents” to search his personal




          5
            The existence of the Hur Report also makes Trump’s reliance on Biden as a basis for
   discovery particularly misplaced. This is not a case in which a defendant points to the absence of
   charges against a similarly situated comparator and asks the court to permit discovery to explore
   whether the disparate treatment was grounded in an improper purpose. Instead, this is a case in
   which an exhaustive report details precisely why the purported comparator was not prosecuted,
   foreclosing the need to discover the basis for that decision.
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   home. Letter from Greg Jacob to NARA (Jan. 18, 2023).6 After those attorneys found “a small

   number of documents that could contain sensitive or classified information,” Pence “immediately

   secured those documents in a locked safe” and “directed” that his representatives collaborate with

   NARA to “ensure their prompt and secure return.” Id. The FBI retrieved the documents on January

   19, 2023, the day after Pence’s representative alerted NARA. Letter from Greg Jacob to NARA

   (Jan. 22, 2023).7   “[R]oughly 12 classified documents” were found by Pence’s attorneys,

   “includ[ing] materials described as background briefing memos that were prepared for Pence’s

   foreign trips,” and for which the classification markings were reportedly “on the ‘lower level.’”8

   Four days later, Pence’s representative “personally deliver[ed]” to NARA four boxes found in

   Pence’s home that appeared to contain materials from Pence’s Vice Presidency. Letter from Greg

   Jacob to NARA (Jan. 22, 2023). Pence also agreed to an FBI search of his home, which took place

   on February 10, 2023, and uncovered one “document with classified markings” and “six additional

   pages without such markings” (quotation marks omitted).9 On June 1, 2023, the Department of

   Justice notified Pence that it would not pursue criminal charges in connection with the discovery

   of the classified documents.10

          Those facts bear no salient similarities to the allegations against Trump. Acting on his own

   initiative to identify any improper retention of official records, Pence retained counsel specially



          6
            https://www.archives.gov/files/foia/greg-jacob.01-18-2023-ltr-to-archives.re-pence-pra-
   records.pdf.
          7
            https://www.archives.gov/files/foia/greg-jacob.01-22-2023-ltr-to-archives-re-pence-pra-
   records.pdf.
          8
            https://www.cnn.com/2023/01/25/politics/pence-classified-documents-briefing-memos-
   foreign-trips/index.html.
          9
             https://www.cnn.com/2023/02/10/politics/mike-pence-house-fbi-search/index.html.
          10
              https://www.pbs.org/newshour/politics/justice-department-wont-bring-charges-over-
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   trained in the handling of classified materials to search his property; secured classified documents

   once they were found; promptly alerted NARA about the discovery and directed his representatives

   to work with NARA to return the documents; arranged for his representative to promptly return

   four boxes of records; and consented to a search of his personal home less than a month after his

   initial discovery of classified materials. Apparently fewer than 15 documents bearing classified

   markings were found, and the majority (if not all) of those appear not to have carried a high level

   of classification. Pence is therefore not similarly situated to Trump. See Smith, 231 F.3d at 809.

          C.      Bill Clinton

          Trump next names (Mot. at 6-7, 22-23) former President Bill Clinton as another alleged

   comparator for his selective prosecution claim. As discussed in the Government’s response (ECF

   No. 373 at 14-16) to Trump’s motion to dismiss based on the Presidential Records Act, Clinton

   “enlisted historian Taylor Branch to assist him in creating ‘an oral history of his eight years in

   office.’” Judicial Watch, Inc. v. NARA, 845 F. Supp. 2d 288, 290 (D.D.C. 2012). Clinton intended

   that project to be an oral “diary.” See Taylor Branch, The Clinton Tapes: Wrestling History with

   the President 36 (Simon & Schuster 2009) 1, 36. And when Judicial Watch sought access to the

   resulting tapes years after Clinton’s presidency ended, NARA responded by noting in part that it

   did not have custody of the tapes and did not believe that they fell “‘within the ambit of the PRA,’”

   after considering “‘the nature of the audio tapes, if they were created with the intent of their use as

   government materials, and whether or not they were circulated within the Administration or relied

   on as policy documents.’” Judicial Watch, 845 F. Supp. 2d at 293; see 44 U.S.C. § 2201(3)(A)

   (defining “personal records” to include “diaries, journals or other personal notes serving as the

   functional equivalent of a diary or journal which are not prepared or utilized for, or circulated or

   communicated in the course of, transacting Government business”). The district court dismissed



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   Judicial Watch’s suit, brought under the Administrative Procedure Act, concluding that even if it

   agreed with Judicial Watch’s “questionable characterization” of the recordings as presidential

   records, the court did not have the authority to compel NARA to exercise its discretion under the

   PRA to commence proceedings to recover the records. 845 F. Supp. 2d at 302.

          Trump speculates (Mot. at 6-7) that, because the tapes “captured a verbatim record of

   President Clinton being President,” including by discussing foreign policy, see id. at 290 & n.1,

   they may have contained information “relating to the national defense,” within the meaning of

   Section 793(e). But Clinton’s taped diaries are far different from the reams of highly classified

   documents that Trump is charged with retaining, and there is no suggestion that Clinton engaged

   in similar obstructive acts. He is not a similarly situated comparator.

          D.      Hillary Clinton

          Trump next suggests (Mot. at 7-10) that Former Secretary of State Hillary Clinton is a

   similarly situated comparator for purposes of his selective prosecution motion. As detailed in a

   June 2018 Report by the DOJ Office of the Inspector General (DOJ-OIG), Clinton, while serving

   as Secretary of State, “used private email servers . . . to conduct official State Department

   business.” DOJ-OIG, A Review of Various Actions by the Federal Bureau of Investigation and

   Department of Justice in Advance of the 2016 Election (June 2018) (“DOJ-OIG Review”), at 37.

   After receiving a referral from the Intelligence Community Inspector General, the FBI opened a

   criminal investigation to “determine the extent of classified information on former Secretary

   Clinton’s private server, who was responsible for introducing the information into an unclassified

   system, and why it was placed there.” Id. at 40.11



          11
             In his 2016 campaign, Trump called for charges to be brought against Clinton for this
   conduct, emphasizing that “We can’t have someone in the Oval Office who doesn’t understand the


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          After reviewing the evidence uncovered in the investigation, “prosecutors analyzed the

   conduct of former Secretary Clinton . . . under five statutes,” including 18 U.S.C. §§ 793(d), (e),

   and (f), but “concluded that there was not a basis to prosecute former Secretary Clinton, her senior

   aides, or others under any of these statutes.” Id. at 254. That conclusion followed from several

   “critical” findings, including that “[n]one of the emails contained clear classification markings”;

   “[o]nly three email chains contained any classification markings of any kind,” and somewhat

   ambiguous ones at that; “[t]here was no evidence that . . . former Secretary Clinton believed or

   [was] aware at the time that the emails contained classified information”; “[t]he emails in question

   were sent to other government officials” and there was no evidence “that any individual ever

   contemporaneously conveyed” concerns about her email practices to her; and “[t]here was no

   evidence that Clinton . . . had knowledge that classified information would be communicated or

   retained on” her private servers or email account. Id. at 255.

          Agents and prosecutors also investigated the deletion of 31,830 emails that Clinton’s

   attorneys had not produced to the State Department, deeming them “personal in nature.” Id. at 72.

   After producing the work-related emails to the State Department, Clinton’s attorneys asked an

   employee of “the company that managed Clinton’s server [] to remove the emails from their own

   laptops and modify the server’s email retention period so that emails older than 60 days would not

   be retained.” Id. The employee used a commercially available program called BleachBit to

   remove Clinton’s emails from the attorneys’ laptops, but he initially neglected to change the

   server’s email retention policy. Id. at 78-79. The employee “realized his mistake in March 2015,”

   after learning of a congressional subpoena for the unproduced emails. Id. At that point, “he ‘had



   meaning of the word confidential or classified,” and promising, “In my administration I’m going
   to enforce all laws concerning the protection of classified information. No one will be above the
   law.” ECF No. 85 ¶ 23.
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   an “oh shit” moment’ and wiped” the archived emails from the company’s server using BleachBit,

   although the FBI was later able to recover some of the deleted emails. Id. The employee spoke to

   investigators and prosecutors under an immunity agreement and explained that he had deleted the

   emails of his own volition without being directed by (or even informing) Clinton or her attorneys.

   Id. at 107. “In sum, [the employee] took responsibility for the deletions, without implicating

   Clinton or her attorneys,” and the investigators and prosecutors who attended his interview found

   his statements to be credible. Id.

          In short, Clinton did not “commit[] the same basic crime in substantially the same manner”

   as Trump, Smith, 231 F.3d at 810, and the evidence against her was not “as strong or stronger than

   that against” Trump, id. at 811. He cannot show that she is a similarly situated comparator.12

          E.      James Comey

          Trump next invokes (Mot. at 10-11, 23) former FBI Director James Comey as a putatively

   similarly situated comparator. According to the DOJ-OIG, Comey, while serving as the FBI

   Director, authored seven memoranda addressing separate interactions with Trump between

   January and April 2017, when Trump was President-Elect or President. DOJ-OIG, Report of

   Investigation of Former Federal Bureau of Investigation Director James Comey’s Disclosure of

   Sensitive Investigative Information and Handling of Certain Memoranda 1 (August 2019). Comey

   believed that two of the memos (Memo 1 and Memo 3) contained classified information, and he



          12
            As with the Hur Report, see supra n.1, the existence of the DOJ-OIG Review makes
   Trump’s reliance on Hillary Clinton as a comparator a particularly poor basis for seeking discovery.
   The DOJ-OIG Review “analyzed the Department’s decision to decline to prosecute former
   Secretary Clinton . . . to determine whether the declination decision was based on improper
   considerations, including political bias.” DOJ-OIG Review at 260-61. In doing so, DOJ-OIG
   “found that the prosecutors’ decision was based on their assessment of the facts, the law, and past
   Department practice,” and it “did not identify evidence of bias or improper considerations.” Id.
   As such, there is no basis for Trump to request discovery to determine whether the different
   prosecutorial decisions were grounded in bias or improper considerations.
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   treated them accordingly. Id. at 17-19, 22-23. He took four other memos (Memos 2, 4, 6, 7) home

   with him, believing that they contained no classified information, id. at 28, and that they

   constituted “personal documents” similar to a diary or a “personal aide-mémoire” because they

   contained his recollection of meetings with Trump. Id. at 52. Shortly after Trump removed Comey

   as FBI Director on May 9, 2017, Comey shared these four memos with his personal attorney. Id.

   at 37. Comey also sent to a friend a copy of Memo 4, which documented a conversation in which

   Trump said that “he ‘hope[d]’ Comey could ‘see [his] way clear to letting’” National Security

   Advisor Mike Flynn “‘go,’” which Comey understood to be an attempt by Trump to “request[] that

   [the FBI] drop any investigation of Flynn in connection with false statements about his

   conversations with the Russian ambassador in December.’” Id. at 24. Following a classification

   review that determined that portions of four of the memos (Memos 1, 2, 3, and 7) contained

   information classified as secret or confidential, id. at 1, 10-12, Comey and the attorney returned

   the memoranda to the FBI, id. at 48-51. Those facts do not include the type of allegedly obstructive

   behavior, culpable mental state, or volume of highly sensitive documents at issue here.

          F.      David Petraeus

          Trump next offers (Mot. at 11, 23) former Army four-star general and CIA Director David

   Petraeus as a comparator. While in Afghanistan, Petraeus “maintained bound, five-by-eight-inch

   notebooks that contained his daily schedule and classified and unclassified notes he took during

   official meetings, conferences, and briefings.” Def. Ex. 8 at 9. Petraeus later allowed his

   biographer to review these notebooks, which “contained national defense information, including

   Top Secret//SCI and code word information.” Id. at 9-11. After he resigned as CIA director, “the

   FBI executed a court-authorized search warrant at” Petraeus’s home and seized the notebooks. Id.

   at 12. Petraeus later falsely denied that he had provided classified information to his biographer



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   or allowed her to review his notebooks. Id. at 13. The government advised Petraeus that they

   were considering felony charges against him, but he ultimately pleaded guilty to an information

   charging him with violating 18 U.S.C. § 1924. Id.; see Adam Goldman, How David Petraeus

   Avoided Felony Charges and Possible Prison Time, Wash. Post (Jan. 25, 2016).13

          There are many distinctions between Petraeus’s notebook possession and Trump’s conduct,

   which involves the willful possession of hundreds of classified documents and a multi-faceted

   scheme to obstruct justice, involving a false certification to the grand jury and attempts to destroy

   evidence. And far from supporting Trump’s selective prosecution claim, the Petraeus example

   shows that the Department of Justice has previously found it appropriate to investigate (including

   through the use of search warrants), prosecute, and consider felony charges against, high-ranking

   government officials who improperly retain or disclose classified information.

          G.      Samuel “Sandy” Berger

          Trump next lists (Mot. at 12, 23) former National Security Advisor Sandy Berger as a

   similarly situated comparator. In 2003, Berger visited NARA’s office to review presidential

   records from the Clinton administration. Def. Ex. 9 at 1-2. Over the course of two visits, Berger

   removed five “copies of versions of the same [classified] document,” storing them at his office,

   “which he knew was a location that was not authorized for the storage of classified documents,”

   and later shredding and discarding three of the copies. Id. When NARA first approached him,

   Berger “initially . . . did not tell NARA that he had taken the documents.” Id. Later that night,

   however, Berger “told NARA that he had accidentally misfiled the documents and had found two.”

   Id. The next day, Berger returned the two documents that had not been destroyed. Id. For this



          13
            Section 1924 was a misdemeanor offense until January 19, 2018, when then-President
   Trump signed into law Pub. L. 115-118, Title II, § 202, which increased the maximum penalty
   from one year to five years. 132 Stat. 19.
                                                    19
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   conduct, Berger pleaded guilty to an information charging him with violating 18 U.S.C. § 1924.

   Id. Berger’s conduct was vastly less egregious than Trump’s, and the fact that it resulted in criminal

   charges (resolved via guilty plea) undercuts his claim of selective prosecution.

          H.      John Deutch

          Trump next relies (Mot. at 12-13, 23) on the example of former CIA director John Deutch,

   who used unclassified computers to process his journal, which contained classified information,

   resulting in investigations by the Inspectors General of the CIA and the Department of Defense.

   Def Exs. 10, 11. Although this conduct “was extremely risky in that a computer ‘hacker’ could

   have gained on-line access to Dr. Deutch’s computer,” Def. Ex. 11 at 2, a forensic examination

   found “‘no clear evidence’ that a compromise had occurred,” Def. Ex. 10 at 33. Deutch reportedly

   had agreed to plead guilty to violating 18 U.S.C. § 1924, but he received a presidential pardon

   before the plea was entered. See Bill Miller & Walter Pincus, Deutch Had Signed Plea Agreement,

   Sources Say, Wash. Post (Jan. 23, 2001). Trump’s willful retention of hundreds of classified

   documents and his obstruction of justice plainly distinguish his conduct from Deutch’s. And again,

   the fact that prosecutors were prepared to obtain a criminal conviction against a high-ranking

   government official for conduct vastly less egregious than Trump’s belies his narrative that there

   is something suspicious or improper about the charges here.

          I.      Deborah Birx

          Finally, Trump relies (Mot. at 13) on documents produced in discovery to speculate that

   Deborah Birx, who served as the White House Coronavirus Response Coordinator during Trump’s

   administration, could be a similarly situated comparator. But those documents merely note that

   NARA retrieved “PRA materials from Dr. Birx,” Def. Ex. 12, and then “found a classified

   document in the mix” while scanning those materials, Def. Ex. 13. There is no indication that Birx



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   even knew that she possessed the classified document she returned to NARA, much less that she

   ever willfully retained it, thwarted NARA’s efforts to collect it, or attempted to obstruct justice.

                                                  * * *

          In sum, Trump has failed to identify any person who qualifies as a similarly situated

   comparator. His request for discovery or dismissal on the basis of selective prosecution can and

   should be denied on this basis alone. See Cannon, 987 F.3d at 939.

   III.   Trump Fails to Satisfy the Second Prong of a Selective Prosecution Claim or Show
          Actual Vindictiveness

          To both satisfy the second prong of his selective prosecution claim and establish a claim of

   actual vindictiveness, Trump relies on a newspaper article and a series of public statements. In his

   view, these materials show, “[w]ith respect to selective prosecution,” that “this case has been

   brought based on impermissible considerations relating to President Trump’s candidacy and First

   Amendment-protected speech relating to his campaign.” Mot. at 16. They likewise show, he

   insists, that “[t]he prosecution is ‘vindictive’ because it has been brought in an effort to punish

   President Trump for exercising those rights on behalf of the American people.” Id. The materials

   on which he relies show no such thing.

          Notably, Trump does not contend that the Special Counsel himself was motivated by

   improper considerations, which would normally be fatal to his claims, as they require a showing

   of improper purpose on behalf of the prosecutorial decisionmaker, see Jordan, 635 F.3d at 1188.

   To avoid this problem, Trump sketches out a theory in which the Special Counsel “‘was prevailed

   upon to bring the charges by another”—evidently referring to Biden—“with animus such that the

   prosecutor could be considered a ‘stalking horse.’” Mot. at 18 (quoting United States v. Sanders,

   211 F.3d 711, 717 (2d Cir. 2000)); see ECF No. 300 at 5 (referring to “the Biden Administration’s




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   use of [the Special Counsel] as a puppet”). That conspiratorial narrative of bias and abuse has no

   basis in evidence, let alone the sort of clear, objective evidence required here.

          Trump’s “stalking horse” theory apparently rests on the following “evidence.” First, “[i]n

   April 2022, the Biden Administration leaked to the New York Times President Biden’s view that

   President Trump ‘should be prosecuted’ and his instruction that Attorney General Garland should

   ‘take decisive action.’” Mot. at 17 (quoting ECF No. 262-1 at Def. Ex. 62). Then, in September

   2022, following the execution of the search warrant at Mar-a-Lago, Biden “characterized the

   circumstances” surrounding Trump’s possession of classified documents “as ‘totally

   irresponsible,’ ask[ing] ‘[h]ow that could possibly happen[?],’ and express[ing] concern about

   ‘[w]hat data was in there that may compromise sources and methods?’” Id. at 17-18 (citing Hur

   Report at 7). Then, seven months later, Biden, in remarks that (according to Trump) “were plainly

   timed based on rumors of President Trump’s candidacy,” “declared . . . that he was ‘making sure’

   President Trump ‘will not take power’ and ‘does not become the next President again.’” Id. at 18.

          In sum, Trump appears to contend that it was President Biden who actually made the

   decision to seek the charges in this case; that Biden did so solely for unconstitutional reasons; and

   that this decision was somehow foisted on the Special Counsel through a newspaper article, a press

   conference, and an interview that each preceded the Special Counsel’s appointment. That theory

   finds no support in evidence or logic. Indeed, the very sources Trump relies on undercut his claim.

          The April 2022 newspaper article, for example, is unrelated to this case, and discusses

   prosecutions arising out of the January 6, 2021 assault on the Capitol. But even if taken at face

   value, the article undermines any claim that Biden was involved in investigative and prosecutorial

   decisions. The article emphasizes that the Attorney General “and the career prosecutors working

   on the case felt only the pressure ‘to do the right thing,’ which meant that they ‘follow the facts



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   and the law wherever they may lead’”; that “Justice Department officials do not keep Mr. Biden

   abreast of any investigation”; that Biden and the Attorney General “have less contact than some

   previous presidents and attorneys general, particularly Mr. Trump and his last attorney general,

   William P. Barr”; that Biden “came to his job as president with a classical, post-Watergate view of

   the department—that it was not there to be a political appendage”; and that when Biden had

   previously stated publicly that other defendants should be prosecuted, the Department had

   responded by noting that it “‘will make its own independent decisions in all prosecutions based

   solely on the facts and the law. Period. Full stop.’” ECF No. 262-1 at Def. Ex. 62. The article

   undermines the claim that Biden used the press to direct a not-yet-appointed Special Counsel to

   seek an indictment approximately a year later based in part on events that had not yet occurred.

          Trump’s contention (Mot. at 17-18) that Biden sought to influence the course of this

   investigation through comments made during a September 2022 interview is likewise unavailing.

   In that interview, Biden was asked about his reaction to seeing a public photograph from the search

   of Mar-a-Lago in August 2022.14 After describing his reaction, Biden explained that he had not

   been briefed on the documents “found at Mar-a-Lago”; that he had not been notified “ahead of

   time” of the execution of the search warrant; and that he had “not asked for the specifics of those

   documents because I don’t want to get myself in the middle of whether or not the Justice

   Department should move or not move on certain actions they could take,” since “I agreed I would

   not tell them what to do and not, in fact, engage in telling them how to prosecute or not.” Id.

   Those statements again undermine Trump’s baseless claim that Biden has directed the

   prosecutorial decisionmaking in this case.



          14
            https://www.cbsnews.com/news/president-joe-biden-60-minutes-interview-transcript-
   2022-09-18/.

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          The same is true of the November 2022 press conference upon which Trump relies. Mot.

   at 18. There, Biden described discussions at a G7 summit in which foreign leaders had expressed

   concerns, in light of the events of January 6, 2021 whether the United States was a “stable”

   democracy where “rules and the institutions matter.”15 A reporter asked Biden how he would

   “reassure” allies that Trump would not “once again take power in the United States,” and he

   responded, “Well, we just have to demonstrate that he will not take power by—if we—if he does

   run. I’m making sure he, under legitimate efforts of our Constitution, does not become the next

   President again.” Id. No fair reading of that exchange could construe it as evidence that Biden

   was directing the Special Counsel (who had still not yet been appointed) to bring charges in this

   case, or any other case, let alone that the Special Counsel sought an indictment as a result.

           Trump’s effort (Mot. at 18) to find impropriety in a recent interview by the Attorney

   General likewise fails. There, the Attorney General emphasized that the Department of Justice

   “follows the facts and the law wherever they lead”; that “politics is not a part of our determination,

   since it would be improper”; and that the Department has followed the regulations providing

   prosecutorial independence to the Special Counsels he had appointed.16 When asked whether “the

   federal cases against Trump should have been brought sooner,” he responded, “The prosecutor has

   urged speedy trials, with which I agree,” and it is “now in the hands of the judicial system.” Id.

          In sum, Trump has not presented evidence substantiating his “stalking horse” theory and

   has fallen woefully short of the requirements for supporting a finding of discriminatory purpose.

   He presents no evidence whatsoever tending to show that Biden’s comments about him had any




          15
                https://www.whitehouse.gov/briefing-room/speeches-remarks/2022/11/09/remarks-by-
   president-biden-in-press-conference-8/.
            16
               See video at https://www.cnn.com/2024/01/19/politics/merrick-garland-trump-speedy-
   trial/index.html.
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   bearing on the Special Counsel’s decision to seek charges, much less that the Special Counsel is a

   “stalking horse.” See United States v. Avenatti, 433 F. Supp. 3d 552, 574-75 (S.D.N.Y. 2020)

   (“Acknowledging the animosity between Avenatti and President Trump, Avenatti has not proffered

   evidence suggesting that this prosecution was initiated at President Trump’s behest . . . .”). Indeed,

   the evidence that he has presented undercuts his claims, as it repeatedly emphasizes that the

   prosecutorial decisions made by the Department generally—and the Special Counsel

   specifically—have been made on the basis of the facts and the law. The Attorney General

   appointed the Special Counsel to ensure prosecutorial independence. The Special Counsel and the

   career prosecutors in his Office have faithfully carried out their duties in this case, and the

   indictment is the result of a thorough and impartial investigation guided by the facts and law.

                                             CONCLUSION

          Trump has failed to make a showing sufficient to entitle him even to discovery, much less

   dismissal, on his claims of selective and vindictive prosecution. His motion should be denied.




                                                  Respectfully submitted,

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   March 7, 2024




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 7, 2024, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

   Notices of Electronic Filing.

                                               /s/ Jay I. Bratt
                                               Jay I. Bratt




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